Case 14-28280        Doc 38     Filed 12/27/16     Entered 12/27/16 16:50:39          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14 B 28280
         Brandy Nicole Crump

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/31/2014.

         2) The plan was confirmed on 11/13/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/13/2014.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Completed on 09/12/2016.

         6) Number of months from filing to last payment: 25.

         7) Number of months case was pending: 29.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $18,011.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 14-28280            Doc 38        Filed 12/27/16    Entered 12/27/16 16:50:39                 Desc         Page 2
                                                        of 3



 Receipts:

           Total paid by or on behalf of the debtor                 $12,628.46
           Less amount refunded to debtor                            $1,596.24

 NET RECEIPTS:                                                                                         $11,032.22


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                      $2,358.00
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                              $411.83
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                       $2,769.83

 Attorney fees paid and disclosed by debtor:                      $1,642.00


 Scheduled Creditors:
 Creditor                                            Claim         Claim            Claim        Principal      Int.
 Name                                      Class   Scheduled      Asserted         Allowed         Paid         Paid
 Altair OH XIII LLC                    Unsecured     13,525.00     13,525.00        13,525.00            0.00       0.00
 American Premier                      Unsecured         800.00           NA               NA            0.00       0.00
 Capital One Bank USA NA               Unsecured      4,079.10       4,129.35         4,129.35      4,129.35      64.82
 Cook County Treasurer                 Secured        3,300.00       3,831.23         3,831.23           0.00       0.00
 Credit Union 1                        Secured           812.00      2,776.26         2,776.26           0.00       0.00
 Credit Union 1                        Unsecured      2,013.00            NA               NA            0.00       0.00
 Edfinancial Services                  Unsecured      9,930.00     11,244.83        11,244.83            0.00       0.00
 Focus Receivables Management          Unsecured          77.00           NA               NA            0.00       0.00
 Green Tree Servicing LLC              Secured       83,588.00     89,123.79        89,123.79            0.00       0.00
 Harvey Water Department               Unsecured         641.00           NA               NA            0.00       0.00
 Nicor Gas                             Unsecured         300.00        319.59           319.59        319.59        5.00
 Nissan Motor Acceptance Corporation   Secured       29,721.00     29,940.88        29,940.88            0.00       0.00
 Portfolio Recovery Associates         Unsecured      1,591.00       1,591.01         1,591.01      1,591.01      25.00
 Quantum3 Group                        Unsecured      1,186.00       1,186.93         1,186.93      1,186.93      18.62
 Ramp Now                              Unsecured         547.87        907.85           907.85        907.85      14.22
 Sallie Mae                            Unsecured     20,892.00     21,141.51        21,141.51            0.00       0.00
 Verizon Wireless                      Unsecured         955.00           NA               NA            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
Case 14-28280        Doc 38      Filed 12/27/16     Entered 12/27/16 16:50:39             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $89,123.79               $0.00             $0.00
       Mortgage Arrearage                                     $0.00               $0.00             $0.00
       Debt Secured by Vehicle                           $32,717.14               $0.00             $0.00
       All Other Secured                                  $3,831.23               $0.00             $0.00
 TOTAL SECURED:                                         $125,672.16               $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $54,046.07          $8,134.73           $127.66


 Disbursements:

         Expenses of Administration                             $2,769.83
         Disbursements to Creditors                             $8,262.39

 TOTAL DISBURSEMENTS :                                                                     $11,032.22


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/27/2016                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
